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(COB #228 voApp4CompReimExpNew)(03/09)




                  IN THE UNITED STATES BANKRUPTCY COURT
                                            District of Colorado ,
                                         HONORABLE Michael E. Romero

In re:
              Mairen R Reagan

Debtor(s)
                                                        Case No.:       18−16796−MER
                                                        Chapter:        7
SSN/TID
Nos.    xxx−xx−5289
        47−4745722, 20−0183566


                        ORDER APPROVING APPLICATION FOR COMPENSATION
                               AND REIMBURSEMENT OF EXPENSES

    The Trustee having filed an Application for Compensation and Reimbursement of Expenses, and
notice and an opportunity for hearing having been given to all creditors, and no requests or objections
having been timely filed, and the Court having thereafter duly examined and considered the Trustee's
Application and attached Exhibit A included therein, it is:

     Ordered that reasonable compensation for actual and necessary services rendered and reimbursement
of actual and necessary expenses incurred are hereby awarded or allowed to the persons and in the
amounts listed in Exhibit A of the Trustee's Application.

Dated: 7/1/20                                         BY THE COURT:
                                                      s/ Michael E. Romero
                                                      Chief United States Bankruptcy Judge
